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                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

    ROBERT E. THOMAS,

                        Plaintiff,

    v.                                                  Case No: 6:19-cv-823-GAP-EJK

    PENN CREDIT CORPORATION,

                        Defendant.


                                           ORDER

            This cause is before the Court sua sponte. In light of the Final Approval

    Order and Judgment entered in Guidry v. Penn Credit Corporation, 6:19-cv-1936-

    GAP-LRH, on September 22, 2021, it is

            ORDERED that this case is DISMISSED as moot and all pending motions

    are DENIED as moot. The Clerk is directed to close the file.

            DONE and ORDERED in Chambers, Orlando, Florida on September 23,

    2021.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party
